Case 1:05-cv-01183-.]DT-STA Document 10 Filed 07/08/05 Page 1 of 2 Page|D 1

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IN 'rHE UNITED sTATES DISTRICT COURT '!@:.q,,
FoR THE WESTERN DIsTRiCT oF TENNESSEE;§~ “

 

EAerRN DlvisioN “///z \§ 590
MARION GAFFNEY, wrongful f 3
death beneficiary and next of kin f',_,
ofJAY MICHAEL GAFFNEY,
Plaintiff,
vs. NO. es=i-ise-T

MERCK & Co., iNC.; et ai.,

Defendants.

ORDER ON MOTION FOR ADMISSION PRO HAC VICE
Defendant Express Scripts, Inc. has moved the court for permission for Thomas M.
Donne]], Jr. to participate pr_o ha_c m for said defendant in this action. Mr. Donnell is a
member in good standing for the United States District Court for the Middle District of
Tennessee.
For good cause shown, that motion is granted It is hereby ordered that Mr. Donne]l

be admitted go bg vice and may actively participate in this action.

/IM

JAM D. roD'D
ED srATES DISTRICT JUDGE

UN§KQWW:M§/

DATE

IT IS SO ORDERED.

This document entered on the docket she n comp|ianco
with Ftu|e 58 and.'or_?$ (a) FF!CP on

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 10 in
case 1:05-CV-01183 vvas distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed

 

 

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Honorable J ames Todd
US DISTRICT COURT

